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Fill in this information to identify the case

United States Bankruptcy Court for the:

                           District of   Delaware
                                         (State)
Case number (If known):                                       Chapter       11

                                                                                                                                                    ☐    Check if this is
                                                                                                                                                    an amended filing

   Official Form 201
   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                    04/16
  If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if
  known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


   1.   Debtor’s name                              Claire’s Stores, Inc.


   2.   All other names debtor used                See Schedule 1
        in the last 8 years

        Include any assumed names, trade
        names, and doing business as
        names



   3.   Debtor’s federal Employer
        Identification Number (EIN)                XX-XXXXXXX


   4.   Debtor’s        Principal place of business                                                        Mailing address, if different from principal place of business
        address
                        2400                       West Central Road
                        Number                     Street                                                  Number                      Street



                                                                                                           P.O. Box


                        Hoffman Estates            Illinois            60192
                        City                       State               ZIP Code                            City                        State            ZIP Code

                                                                                                           Location of principal assets, if different from principal place
                                                                                                           of business
                        Cook County
                        County
                                                                                                           Number                      Street




                                                                                                           City                        State            ZIP Code



   5.   Debtor’s website (URL)                     www.clairestores.com



   6.   Type of debtor                             ☒   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                   ☐   Partnership (excluding LLP)
                                                   ☐   Other. Specify:



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Debtor           Claire’s Stores, Inc.                                                            Case number (if known)
                 Name


                                            A. Check one:
 7.      Describe debtor’s business
                                            ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))
                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            ☒ None of the above
                                            B. Check all that apply:
                                            ☐ Tax- entity (as described in 26 U.S.C. § 501)
                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                4539 - Other Miscellaneous Store Retailers


                                            Check one:
 8.      Under which chapter of the
         Bankruptcy Code is the             ☐   Chapter 7
         debtor filing?                     ☐   Chapter 9
                                            ☒   Chapter 11. Check all that apply:
                                                               ☐      Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                      insiders or affiliates) are less than $2,566,050 (amount subject to adjustment
                                                                      on 4/01/19 and every 3 years after that).
                                                               ☐      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                      debtor is a small business debtor, attach the most recent balance sheet,
                                                                      statement of operations, cash-flow statement, and federal income tax return or
                                                                      if all of these documents do not exist, follow the procedure in 11 U.S.C. §
                                                                      1116(1)(B).
                                                               ☐      A plan is being filed with this petition.
                                                               ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                 creditors, in accordance with 11 U.S.C. § 1126(b).
                                                               ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                                      the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                                      Securities Exchange Act of 1934. File the Attachment to Voluntary Petition for
                                                                      Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form 201A)
                                                                      with this form.
                                                               ☐      The debtor is a shell company as defined in the Securities Exchange Act of
                                                                      1934 Rule 12b-2.
                                            ☐   Chapter 12


 9.      Were prior bankruptcy cases        ☒   No
         filed by or against the debtor
         within the last 8 years?           ☐   Yes        District                       When                           Case number

         If more than 2 cases, attach a                                                                 MM/ DD/ YYYY
         separate list.                                    District                       When                           Case number

                                                                                                        MM / DD/ YYYY

 10. Are any bankruptcy cases               ☐   No
     pending or being filed by a
     business partner or an                 ☒   Yes        Debtor          See attached Schedule 2                       Relationship
     affiliate of the debtor?                              District        District of Delaware                          When             March 19, 2018
         List all cases. If more than 1,
                                                           Case number, if known                                                          MM / DD/ YYYY
         attach a separate list.



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Debtor          Claire’s Stores, Inc.                                                            Case number (if known)
                Name


   11. Why is the case filed in this        Check all that apply:
       district?
                                            ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                            ☒    A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have
     possession of any real
                                            ☒   No
     property or personal property          ☐   Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     that needs immediate                              Why does the property need immediate attention? (Check all that apply.)
     attention?                                        ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                            health or safety.
                                                            What is the hazard?
                                                       ☐    It needs to be physically secured or protected from the weather.
                                                       ☐    It includes perishable goods or assets that could quickly deteriorate or lose value
                                                            without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                            securities-related assets or other options).


                                                       ☐    Other


                                                     Where is the property?
                                                                                        Number                 Street


                                                                                        City                              State               ZIP Code
                                                     Is the property insured?
                                                                                        ☐ No
                                                                                        ☐ Yes. Insurance agency
                                                                                                   Contact Name
                                                                                                   Phone




                Statistical and administrative information



   13. Debtor’s estimation of           Check one:
       available funds                  ☒    Funds will be available for distribution to unsecured creditors.
                                        ☐    After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

   14. Estimated number of              ☐    1-49                                      ☒       1,000-5,000                        ☐   25,001-50,000
       creditors                        ☐    50-99                                     ☐       5,001-10,000                       ☐   50,001-100,000
         (on a consolidated basis)      ☐    100-199                                   ☐       10,001-25,000                      ☐   More than 100,000
                                        ☐    200-999

   15. Estimated assets                 ☐    $0-$50,000                                ☐       $1,000,001-$10 million             ☐   $500,000,001-$1 billion
         (on a consolidated basis)      ☐    $50,001-$100,000                          ☐       $10,000,001-$50 million            ☒   $1,000,000,001-$10 billion
                                        ☐    $100,001-$500,000                                                                    ☐   $10,000,000,001-$50 billion
                                        ☐    $500,001-$1 million
                                                                                       ☐       $50,000,001-$100 million
                                                                                                                                  ☐   More than $50 billion
                                                                                       ☐       $100,000,001-$500 million

   16. Estimated liabilities            ☐    $0-$50,000                                ☐       $1,000,001-$10 million             ☐   $500,000,001-$1 billion
         (on a consolidated basis)      ☐    $50,001-$100,000                          ☐       $10,000,001-$50 million            ☒   $1,000,000,001-$10 billion
                                        ☐    $100,001-$500,000                                                                    ☐   $10,000,000,001-$50 billion
                                        ☐    $500,001-$1 million
                                                                                       ☐
                                                                                       ☐
                                                                                               $50,000,001-$100 million
                                                                                               $100,000,001-$500 million
                                                                                                                                  ☐   More than $50 billion


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Debtor          Claire’s Stores, Inc.                                                        Case number (if known)
                Name




                Request for Relief, Declaration, and Signatures


 WARNING − Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

     17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
         authorized representative of          this petition.
         debtor
                                               I have been authorized to file this petition on behalf of the debtor.

                                               I have examined the information in this petition and have a reasonable belief that the information is
                                               true and correct to the best of my information and belief.

                                               I declare under penalty of perjury that the foregoing is true and correct to my knowledge,
                                               information, and belief.

                                                    Executed on      March 19, 2018
                                                                        MM/ DD /YYYY



                                                     /s/ Scott E. Huckins                                     Scott E. Huckins
                                                     Signature of authorized representative of                Printed name
                                                     debtor

                                                     Executive Vice President and Chief Financial Officer
                                                     Title




   18. Signature of attorney                       /s/ Daniel J. DeFranceschi                                 Date           March 19, 2018
                                                   Signature of attorney for debtor                                            MM / DD / YYYY

                                                   Daniel J. DeFranceschi                                            Ray C. Schrock, P.C.
                                                   Printed Name

                                                   Richards, Layton & Finger, P.A.                                   Weil, Gotshal & Manges LLP
                                                   Firm Name
                                                   One Rodney Square, 920 North King Street                          767 Fifth Avenue
                                                   Number             Street


                                                   Wilmington, Delaware 19801                                        New York, New York 10153
                                                   City/State/Zip

                                                   (302) 651-7700                                                    (212) 310-8000
                                                   Contact phone

                                                   defranceschi@rlf.com                                              ray.schrock@weil.com
                                                   Contact email address

                                                   2732                    Delaware
                                                   Bar Number             State




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                                                   Schedule 1

                                  All Other names Debtor used in the last 8 years
                       Afterthoughts
                       Claire’s
                       Claire’s Accessories
                       Claire’s Boutiques
                       Claire’s Club
                       Claire’s Outlet
                       Claire’s Etc.
                       Icing
                       Icing by Claire’s
                       Icing Ice
                       Icing Outlet
                       The Icing




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                                              Schedule 2

              Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

                On the date hereof, each of the affiliated entities listed below, including the debtor
in this chapter 11 case, filed a voluntary petition for relief under chapter 11 of title 11 of the
United States Code in the United States Bankruptcy Court for the District of Delaware (the
“Court”). A motion will be filed with the Court requesting that the chapter 11 cases of the
entities listed below be consolidated for procedural purposes only and jointly administered,
pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure, under the case number
assigned to the chapter 11 case of Claire’s Stores, Inc.

                    COMPANY                 CASE NUMBER           DATE FILED          DISTRICT
    Claire’s Inc.                            18-________( )       March 19, 2018       Delaware
    Claire’s Stores, Inc.                    18-________( )       March 19, 2018       Delaware
    Claire’s Puerto Rico Corp.               18-________( )       March 19, 2018       Delaware
    CBI Distributing Corp.                   18-________( )       March 19, 2018       Delaware
    Claire’s Boutiques, Inc.                 18-________( )       March 19, 2018       Delaware
    Claire’s Canada Corp.                    18-________( )       March 19, 2018       Delaware
    BMS Distributing Corp.                   18-________( )       March 19, 2018       Delaware
    CSI Canada LLC                           18-________( )       March 19, 2018       Delaware




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                              CLAIRE’S, INC. AND CLAIRE’S STORES, INC.

                              CERTIFICATE OF CORPORATE SECRETARY

                                            March 18, 2018

        I, Stephen E. Sernett, being a duly elected and authorized officer of each of the following
(each a “Company” and, collectively, the “Companies”):

          A. Claire’s Inc., a Delaware corporation; and

          B. Claire’s Stores, Inc., a Florida corporation

hereby certify as follows:

          A. I am a duly qualified and elected officer of each of the Companies and, as such, I am
             familiar with the facts herein certified and I am duly authorized to certify the same on
             behalf of the Companies;

          B. Attached hereto is a true, correct, and complete copy of the joint resolutions of the
             boards of directors of Claire’s Inc. and Claire’s Stores, Inc., duly adopted and
             approved on March 18, 2018, in accordance with each Company’s corporate
             organizational documents; and

          C. Such resolutions have not been amended, altered, annulled, rescinded, modified or
             revoked since their adoption and remain in full force and effect as of the date hereof.
             There exist no subsequent resolutions relating to the matter set forth in the resolutions
             attached hereto.

       IN WITNESS WHEREOF, the undersigned has executed this certificate as of the 18th
day of March, 2018.


                                                 /s/ Stephen E. Sernett
                                               Name: Stephen E. Sernett
                                               Title: Senior Vice President and General
                                                      Counsel




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                  JOINT RESOLUTIONS OF THE BOARD OF DIRECTORS OF
                        CLAIRE’S INC. AND CLAIRE’S STORES, INC.

       Effective as of this 18th day of March, 2018, pursuant to a joint special meeting of the
boards of directors (each, a “Board of Directors” and collectively, the “Boards of Directors”)
of Claire’s Inc. (“Claire’s Parent”), a Delaware corporation, and Claire’s Stores, Inc.
(“Claire’s”), a Florida corporation (collectively, the “Company”), on the same date, at which a
quorum was present, upon a motion duly made and seconded and acting pursuant to the
Company’s organizational documents, the members of the Boards of Directors constituting at
least a majority of the directors then in office took the following actions and adopted the
following resolutions:

        WHEREAS, the Boards of Directors have reviewed and have had the opportunity to ask
questions about the materials presented by the management and the legal and financial advisors
of the Company regarding the liabilities and liquidity of the Company and its subsidiaries, the
strategic alternatives available to it and the impact of the foregoing on the Company’s
businesses;

       WHEREAS, the Boards of Directors have had the opportunity to consult with the
management and the legal and financial advisors of the Company to fully consider, and have
considered, the strategic alternatives available to the Company; and

          WHEREAS, the Boards of Directors desire to approve the following resolutions.

          Commencement of Chapter 11 Cases

         NOW, THEREFORE, BE IT RESOLVED, that the Boards of Directors have
determined, after consultation with the management and the legal and financial advisors of the
Company, that it is desirable and in the best interests of the Company, its shareholders, creditors,
and other parties in interest that petitions be filed with the United States Bankruptcy Court for
the District of Delaware (the “Bankruptcy Court”) by the Company seeking relief under the
provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”); and be
it further

        RESOLVED, that any officer of the Company (each, an “Authorized Person”), in each
case, acting singly or jointly, be, and each hereby is, authorized, empowered, and directed, with
full power of delegation, to negotiate, execute, deliver, and file with the Bankruptcy Court, in the
name and on behalf of the Company, and under its corporate seal or otherwise, all plans,
petitions, schedules, statements, motions, lists, applications, pleadings, papers, affidavits,
declarations, orders and other documents (collectively, the “Chapter 11 Filings”) (with such
changes therein and additions thereto as any such Authorized Person may deem necessary,
appropriate or advisable, the execution and delivery of any of the Chapter 11 Filings by any such
Authorized Person with any changes thereto to be conclusive evidence that any such Authorized
Person deemed such changes to meet such standard); and be it further

       RESOLVED, that any Authorized Person, in each case, acting singly or jointly, be, and
each hereby is, authorized, empowered, and directed, with full power of delegation, in the name



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and on behalf of the Company, to take and perform any and all further acts and deeds that such
Authorized Person deems necessary, appropriate, or desirable in connection with the Company’s
chapter 11 cases (the “Chapter 11 Cases”) or the Chapter 11 Filings, including, without
limitation, (i) the payment of fees, expenses and taxes such Authorized Person deems necessary,
appropriate, or desirable, and (ii) negotiating, executing, delivering, performing and filing any
and all additional documents, schedules, statements, lists, papers, agreements, certificates and/or
instruments (or any amendments or modifications thereto) in connection with, or in furtherance
of, the Chapter 11 Cases with a view to the successful prosecution of the Chapter 11 Cases (such
acts to be conclusive evidence that such Authorized Person deemed the same to meet such
standard); and be it further

          Commencement of Chapter 11 Cases of Subsidiaries

        RESOLVED, that the Boards of Directors have determined, after consultation with the
management and the legal and financial advisors of the Company, that, in connection with the
Chapter 11 Cases, it is desirable and in the best interests of the Company for certain of its
controlled subsidiaries (collectively, the “Subsidiaries”) to file a petition seeking relief under the
provisions of the Bankruptcy Code (collectively, the “Subsidiary Chapter 11 Cases”) and to
negotiate, execute, deliver, and file with the Bankruptcy Court all plans, petitions, schedules,
statements, motions, lists, applications, pleadings, papers, affidavits, declarations, orders and
other documents (the “Subsidiary Chapter 11 Filings”) in the Bankruptcy Court; and be it
further

          Debtor-in-Possession Financing

        RESOLVED, the Board of Directors of Claire’s, the DIP Borrower under the DIP Credit
Agreements (as defined in Exhibit I hereto), does hereby adopt and resolve to adopt the
resolutions attached hereto as Exhibit I by the DIP Borrower, and the Board of Directors of
Claire’s Parent, a DIP Guarantor under the DIP Credit Agreements (as defined in Exhibit I
hereto), as applicable, does hereby adopt the resolutions attached hereto as Exhibit II by such
DIP Guarantor; and be it further

       RESOLVED, that all capital terms used in the resolutions attached hereto as Exhibit I
and Exhibit II and not otherwise defined herein shall have the meanings ascribed to such terms in
the DIP Credit Agreements (as defined in Exhibit I hereto), as applicable; and be it further

          Retention of Advisors

         RESOLVED, that, in connection with the Chapter 11 Cases, any Authorized Person, in
each case, acting singly or jointly, be, and each hereby is, authorized, empowered, and directed,
with full power of delegation, in the name and on behalf of the Company, to employ and retain
all assistance by legal counsel, accountants, financial advisors, investment bankers and other
professionals, on behalf of the Company and its Subsidiaries, that such Authorized Person deems
necessary, appropriate or advisable in connection with, or in furtherance of, the Chapter 11
Cases, with a view to the successful prosecution of the Chapter 11 Cases (such acts to be
conclusive evidence that such Authorized Person deemed the same to meet such standard); and
be it further




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      RESOLVED, that the law firm of Weil, Gotshal & Manges LLP, located at 767 Fifth
Avenue, New York, New York 10153, is hereby retained as counsel for the Company in the
Chapter 11 Cases, subject to Bankruptcy Court approval; and be it further

         RESOLVED, that the law firm of Richards, Layton & Finger, P.A., located at One
Rodney Square, 920 North King Street, Wilmington, Delaware 19801, is hereby retained as local
counsel for the Company in the Chapter 11 Cases, subject to Bankruptcy Court approval; and be
it further

      RESOLVED, that the firm of FTI Consulting, located at 227 West Monroe Street, Suite
900, Chicago, Illinois 60606, is hereby retained as financial advisor for the Company in the
Chapter 11 Cases, subject to Bankruptcy Court approval; and be it further

        RESOLVED, that the firm of Lazard Frères & Co. LLC, located at 300 North LaSalle
Street, Chicago, Illinois 60654, is hereby retained as investment banker for the Company in the
Chapter 11 Cases, subject to Bankruptcy Court approval; and be it further

       RESOLVED, that the firm of Prime Clerk LLC, located at 830 Third Avenue, 9th Floor,
New York, New York 10022, is hereby retained as claims, noticing and solicitation agent and
administrative advisor for the Company in the Chapter 11 Cases, subject to Bankruptcy Court
approval; and be it further

         RESOLVED, that any Authorized Person, in each case, acting singly or jointly, be, and
each hereby is, authorized, empowered, and directed, with full power of delegation, in the name
and on behalf of the Company, to take and perform any and all further acts and deeds, including,
without limitation, (i) the payment of any consideration, (ii) the payment of fees, expenses and
taxes such Authorized Person deems necessary, appropriate, or desirable, and (iii) negotiating,
executing, delivering, performing, and filing any and all documents, motions, pleadings,
applications, declarations, affidavits, schedules, statements, lists, papers, agreements, certificates
and/or instruments (or any amendments or modifications thereto) in connection with the
engagement of professionals contemplated by the foregoing resolutions (such acts to be
conclusive evidence that such Authorized Person deemed the same to meet such standard); and
be it further

          General

        RESOLVED, that any Authorized Person, in each case, acting singly or jointly, be, and
each hereby is, authorized, empowered, and directed, with full power of delegation, in the name
and on behalf of the Company, to take and perform any and all further acts or deeds, including,
but not limited to, (i) the negotiation of such additional agreements, amendments, modifications,
supplements, reports, documents, instruments, applications, notes or certificates not now known
but which may be required, (ii) the execution, delivery and filing (if applicable) of any of the
foregoing, and (iii) the payment of all fees, consent payments, taxes and other expenses as any
such Authorized Person, in his or her sole discretion, may approve or deem necessary,
appropriate or desirable in order to carry out the intent and accomplish the purposes of the
foregoing resolutions and the transactions contemplated thereby, all of such actions, executions,
deliveries, filings and payments to be conclusive evidence of such approval or that such




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Authorized Person deemed the same to meet such standard; and be it further

        RESOLVED, that any and all past actions heretofore taken by any Authorized Person,
any director, or any member of the Company in the name and on behalf of the Company in
furtherance of any or all of the preceding resolutions be, and the same hereby are, ratified,
confirmed, and approved in all respects.




                                *      *       *        *     *




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                                                  EXHIBIT I

                                     DIP BORROWER RESOLUTIONS

                                                March 18, 2018

                 WHEREAS, Claire’s Stores, Inc., a Florida corporation (the “DIP Borrower”) desires to
enter into , deliver and perform its obligations under that certain Senior Secured and Superpriority
Debtor-In-Possession Credit Agreement, dated on or around March 21, 2018 (as may be amended,
restated, amended and restated, supplemented and/or otherwise modified from time to time, the “DIP
Credit Agreement”), by and among the DIP Borrower, as borrower, Claire’s Inc., a Delaware corporation
(“Claire’s”), BMS Distributing Corp., a Delaware corporation (“BMS”), CBI Distributing Corp., a
Delaware corporation (“CBI”), Claire’s Boutiques, Inc., a Colorado corporation (“Claire’s Boutiques”),
Claire’s Canada Corp., a Delaware corporation (“Claire’s Canada”), Claire’s Puerto Rico Corp. a
Delaware corporation (“Claire’s Puerto Rico”) and CSI Canada LLC, a Delaware limited liability
company (“CSI Canada” and together with Claire’s, BMS, CBI, Claire’s Boutiques, Claire’s Canada and
Claire’s Puerto Rico, the “DIP Guarantors,” and together with the DIP Borrower, individually a
“Company” and collectively the “Companies”), as guarantors, the lenders from time to time party thereto
(the “DIP Lenders”), and Citibank, N.A., as administrative agent for the DIP Lenders (the “DIP Agent”),
pursuant to which (i) an asset-based revolving credit facility in an aggregate principal amount at any time
outstanding of up to $75,000,000 (the “DIP ABL Revolving Commitments”), of which, up to
$10,000,000 of the DIP ABL Revolving Commitments available for the issuance of standby letters of
credit and (ii) after the proceeds of loans made pursuant to the DIP ABL Revolving Commitments are
used to refinance and/or repay in full all outstanding loans and other Obligations under that certain ABL
Credit Agreement, dated as of August 12, 2016 (as amended, restated, amended and restated,
supplemented and or otherwise modified prior to the date of the DIP Credit Agreement, the “Existing
ABL”), by and among, the DIP Borrower, the DIP Guarantors, the lenders from time to time party
thereto, and Credit Suisse AG as administrative agent for such lenders, a “last-out” term loan facility in an
aggregate principal amount of $60,000,000, will be made available to the DIP Borrower on the terms and
conditions set forth in the DIP Credit Agreement;

                WHEREAS, severally pursuant to (i) the entry by the applicable bankruptcy court of the
Interim Order (and subsequently confirmed by the Final Order) and (ii) that certain Security and Guaranty
Agreement, dated on or around March 21, 2018 (as may be amended, restated, amended and restated,
supplemented and/or otherwise modified from time to time, the “DIP Security and Guaranty
Agreement”), by and among, the Companies and the DIP Agent, the DIP Borrower and the DIP
Guarantors shall grant the DIP Agent for the benefit of the DIP Lenders a legal, valid, continuing and
enforceable security interest in the Collateral (with the priority fully described therein and in the DIP
Credit Agreement), (such grant the “Security Grant”).

   NOW, THEREFORE, be it:

DIP Credit Agreement          RESOLVED, that the DIP Borrower is hereby authorized to execute and
                              deliver, and to borrow and obtain letters of credit, as applicable, under, the DIP
                              Credit Agreement, the DIP Security and Guaranty Agreement, and the
                              Additional DIP Documents (as defined below) to which the DIP Borrower is a
                              party or signatory and the performance of its obligations thereunder and
                              transactions contemplated thereby thereunder and under the Interim Order and
                              the Final Order, including, without limitation, the incurrence of debt, the
                              granting of security interests (including without limitation, the Security Grant),



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                              the granting of pledges, and the making of guarantees thereunder and such
                              other actions, and omissions to take actions, as are necessary, appropriate or
                              desirable in connection with the foregoing, and that any officer (including,
                              without limitation, any chief executive officer, chief financial officer, treasurer,
                              assistant treasurer, president, vice president secretary and assistant secretary)
                              of the DIP Borrower (each, an “Authorized Officer”), be, and each of them
                              hereby is individually, authorized, empowered and directed, in the name and
                              on behalf of the DIP Borrower, to execute and deliver the DIP Credit
                              Agreement, the DIP Security and Guaranty Agreement, and the Additional DIP
                              Documents to which the DIP Borrower is a party or signatory and the
                              performance of its obligations thereunder and under the Interim Order and the
                              Final Order, including, without limitation, the incurrence of debt, the granting
                              of security interests (including, without limitation, the Security Grant) and the
                              making of guarantees thereunder and such other actions, and omissions to take
                              actions, as are necessary, appropriate or desirable in connection with the
                              foregoing, with such modifications thereto as such Authorized Officer
                              executing the same shall approve, his or her execution thereof being deemed
                              conclusive evidence of such approval; and be it further

                              RESOLVED, that any Authorized Officer of the DIP Borrower be, and each
                              of them hereby is individually, authorized, empowered and directed, in the
                              name and on behalf of the DIP Borrower, to execute and deliver, attest to such
                              execution and delivery of, in the name of and on behalf of the DIP Borrower,
                              all such other agreements, all such other agreements (including, without
                              limitation, any security agreements, guaranty agreements, mortgages, and
                              control agreements), certificates, instruments and other writings (the
                              “Additional DIP Documents”), and to take all such other actions, as such
                              Authorized Officer may deem necessary or appropriate in connection with the
                              transactions contemplated by these resolutions; and be it further



                              RESOLVED, the DIP Borrower will obtain benefits from the DIP Credit
                              Agreement and the DIP Security and Guaranty Agreement and it is in the best
                              interest of the DIP Borrower to enter into the DIP Credit Agreement and the
                              DIP Security and Guaranty Agreement and be bound by the Interim Order and
                              the Final Order; and be it further

                              RESOLVED, that the DIP Borrower hereby authorizes, adopts and approves,
                              in all respects the form, terms and provisions of the DIP Credit Agreement, the
                              DIP Security and Guaranty Agreement, the Interim Order, the Final Order and
                              any other Additional DIP Guarantor Documents substantially in the form to be
                              executed and delivered on or around March 21, 2018; and be it further

DIP Borrower                  RESOLVED, that the DIP Borrower is authorized to update the DIP Credit
Documents                     Agreement, the DIP Security and Guaranty Agreement, and any Additional
                              DIP Documents and the transactions contemplated thereby and is authorized to
                              enter into any Additional DIP Documents to which the DIP Borrower is or is
                              contemplated to be a party and any other agreements, documents, certificates
                              or filings that any Authorized Officer of the DIP Borrower determines are
                              necessary, appropriate or desirable in connection with the DIP Credit




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                              Agreement, the DIP Security and Guaranty Agreement, the Interim Order, the
                              Final Order and any other Additional DIP Documents to which the DIP
                              Borrower is or is contemplated to be a party, as security for the Obligations (as
                              defined in the DIP Credit Agreement) or any portion of them and as otherwise
                              provided in the DIP Credit Agreement, the DIP Security and Guaranty
                              Agreement, or the Additional DIP Documents; and be it further

                              RESOLVED, that any Authorized Officer of the DIP Borrower be, and each
                              of them hereby is individually, authorized, empowered and directed, in the
                              name and on behalf of the DIP Borrower, to execute and deliver such
                              additional assignments, stock powers, powers of attorney, notices, lien
                              perfection documents, consents to assignment, subordination agreements,
                              interest rate protection and other hedging agreements, letters of credit and
                              master letter of credit agreements, cash management agreements, assignments,
                              collateral assignments, fee letters and other customary loan documents, third
                              party collateral access agreements, bailee letters, deposit account control
                              agreements, securities account control agreements, insurance certificates, UCC
                              financing statements, mortgages, deeds of trust, warehouse notifications,
                              collateral assignments, and other customary secured loan documents and other
                              agreements, certificates, instruments and other writings as the DIP Agent may
                              request or as may be necessary or appropriate in the sole judgment of such
                              Authorized Officer to create, preserve and perfect the security interests and
                              other liens required or contemplated pursuant to, or otherwise to give effect to
                              any of the transactions contemplated by, any of the Additional DIP
                              Documents; and be it further

                              RESOLVED, that any Authorized Officer of the DIP Borrower be, and each
                              of them hereby is individually, authorized, empowered and directed, in the
                              name and on behalf of the DIP Borrower, to execute and deliver all such other
                              agreements, certificates, instruments and other writings, and to take all such
                              other actions, as any such Authorized Officer may deem necessary or
                              appropriate in connection with the transactions contemplated by these
                              resolutions; and be it further

Ratification                  RESOLVED, that all actions, proceedings, elections, appointments, approvals,
                              assignments, grants, transfers, agreements, acts, declarations, instruments,
                              documents, executions and transactions, whether done, taken, executed or
                              acted upon, or purported to be done, taken, executed or acted upon prior to the
                              date hereof, by or on behalf of the DIP Borrower in connection with the DIP
                              Credit Agreement, the DIP Security and Guaranty Agreement, or any of the
                              Additional DIP Documents, be, and the same hereby are, approved, adopted,
                              ratified and confirmed in all respects; and be it further

General Authority             RESOLVED, that any Authorized Officer of the DIP Borrower be, and each
                              of them hereby is individually, authorized, empowered and directed, in the
                              name and on behalf of the DIP Borrower, to take such additional actions, to
                              perform all acts and deeds, and to execute, ratify, certify, deliver, file and
                              record such additional agreements, certificates, instruments and other writings
                              as any of them may deem necessary or appropriate to implement the provisions
                              of the foregoing resolutions (including, without limitation, amendments,
                              restatements, replacements or other modifications of any of the foregoing




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                              documents) or otherwise in connection with the DIP Credit Agreement, the
                              DIP Security and Guaranty Agreement or any of the Additional DIP
                              Documents, to appoint such agents on behalf of the DIP Borrower as any such
                              Authorized Officer may deem necessary or appropriate in connection with the
                              foregoing resolutions or to comply with the requirements of the agreements,
                              certificates, instruments and other writings approved by the foregoing
                              resolutions, the authority for the taking or performing of such actions, acts or
                              deeds and the execution, ratification, certification, delivery, filing or recording
                              of such agreements, certificates, instruments or other writings to be
                              conclusively evidenced thereby; and be it further

                              RESOLVED, that, to the extent the DIP Borrower serves as the sole member,
                              managing member or other governing body (collectively, a “Controlling
                              Company”), in each case, of any other company (a “Controlled Company”),
                              each Authorized Officer, any one of whom may act without the joinder of any
                              of the others, be, and each of them hereby is, severally authorized, empowered
                              and directed in the name and on behalf of such Controlling Company (acting
                              for such Controlled Company in the capacity set forth above, as applicable), to
                              take all of the actions on behalf of such Controlled Company that an
                              Authorized Officer is herein duly authorized to take on behalf of such
                              Controlling Company; and be it further

                              RESOLVED FURTHER, that the authority conferred upon each Authorized
                              Officer by these resolutions written consent is in addition to, and shall in no
                              way limit, such other authority as such Authorized Officer may have with
                              respect to the subject matter of the foregoing resolutions, and that the omission
                              from this resolution of any agreement or other arrangement contemplated by
                              any of the agreements, instruments or documents described in the foregoing
                              resolutions or any action to be taken in accordance with any requirement of
                              any of the agreements, instruments or documents described in the foregoing
                              resolutions shall in no manner derogate from the authority of such Authorized
                              Officer to take all actions necessary, advisable or appropriate to consummate,
                              effectuate, carry out or further the transactions contemplated by and the intents
                              and purposes of the foregoing resolutions.




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                                                  EXHIBIT II

                                     DIP GUARANTOR RESOLUTIONS

                                                March 18, 2018

                  WHEREAS, Claire’s Stores, Inc., a Florida corporation (the “DIP Borrower”) desires to
enter into, deliver and perform its obligations under that certain Senior Secured and Superpriority Debtor-
In-Possession Credit Agreement, dated on or around March 21, 2018 (as may be amended, restated,
amended and restated, supplemented and/or otherwise modified from time to time, the “DIP Credit
Agreement”), by and among the DIP Borrower, as borrower, Claire’s Inc., a Delaware corporation
(“Claire’s”), BMS Distributing Corp., a Delaware corporation (“BMS”), CBI Distributing Corp., a
Delaware corporation (“CBI”), Claire’s Boutiques, Inc., a Colorado corporation (“Claire’s Boutiques”),
Claire’s Canada Corp., a Delaware corporation (“Claire’s Canada”), Claire’s Puerto Rico Corp. a
Delaware corporation (“Claire’s Puerto Rico”) and CSI Canada LLC, a Delaware limited liability
company (“CSI Canada” and together with Claire’s, BMS, CBI, Claire’s Boutiques, Claire’s Canada and
Claire’s Puerto Rico, the “DIP Guarantors,” and together with the DIP Borrower, individually a
“Company” and collectively the “Companies”), as guarantors, the lenders from time to time party thereto
(the “DIP Lenders”), and Citibank, N.A., as administrative agent for the DIP Lenders (the “DIP Agent”),
pursuant to which (i) an asset-based revolving credit facility in an aggregate principal amount at any time
outstanding of up to $75,000,000 (the “DIP ABL Revolving Commitments”), with up to $10,000,000 of
the DIP ABL Revolving Commitments available for the issuance of standby letters of credit but only after
the proceeds of loans made pursuant to the DIP ABL Revolving Commitments are used to refinance
and/or repay in full all outstanding loans and other Obligations under that certain ABL Credit Agreement,
dated as of August 12, 2016 (as amended, restated, amended and restated, supplemented and or otherwise
modified prior to the date of the DIP Credit Agreement, the “Existing ABL”), by and among, the DIP
Borrower, the DIP Guarantors, the lenders from time to time party thereto, and Credit Suisse AG as
administrative agent for such lenders and (ii) a “last-out” term loan facility in an aggregate principal
amount of $60,000,000, will be made available to the DIP Borrower on the terms and conditions set forth
in the DIP Credit Agreement;

                WHEREAS, severally pursuant to (i) the entry by the applicable bankruptcy court of the
Interim Order (and subsequently confirmed by the Final Order), and (ii) that certain Security and
Guaranty Agreement, dated on or around March 21, 2018 (as may be amended, restated, amended and
restated, supplemented and/or otherwise modified from time to time, the “DIP Security and Guaranty
Agreement”), by and among, the Companies and the DIP Agent, (x) the DIP Borrower and the DIP
Guarantors shall grant the DIP Agent for the benefit of the DIP Lenders a legal, valid, continuing and
enforceable security interest in the Collateral (with the priority fully described therein and in the DIP
Credit Agreement), (such grant the “Security Grant”) and (y) the DIP Guarantors shall guarantee the
obligations of the DIP Borrower (under the DIP Credit Agreement), (such guarantee the “Guaranty of
Obligations”).

NOW, THEREFORE, be it:

DIP Credit Agreement          RESOLVED, that each DIP Guarantor is hereby authorized to execute and
                              deliver the DIP Credit Agreement, the DIP Security and Guaranty Agreement,
                              and any Additional DIP Guarantor Documents (as defined below) in its capacity
                              as guarantor, and to perform its obligations and transactions contemplated
                              thereby thereunder and under the Interim Order and the Final Order, including,
                              without limitation, the granting of security interests (including, without
                              limitation, the Security Grant), the granting of pledges, and the making of




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                              guarantees thereunder (including, without limitation, the Guaranty of
                              Obligations), and to take such actions, as are necessary, appropriate or desirable
                              in connection with the foregoing, and that any officer (including, without
                              limitation, any chief executive officer, chief financial officer, treasurer, assistant
                              treasurer, president, vice president secretary and assistant secretary) of such DIP
                              Guarantor (each, an “Authorized Officer”) be, and each of them hereby is
                              individually, authorized, empowered and directed, in the name and on behalf of
                              such DIP Guarantor, to execute and deliver the DIP Credit Agreement, the DIP
                              Security and Guaranty Agreement and any Additional DIP Guarantor
                              Documents and to perform such DIP Guarantor’s obligations thereunder and
                              under the Interim Order and the Final Order, including, without limitation, the
                              granting of security interests (including, without limitation, the Security Grant)
                              and the making of guarantees thereunder (including, without limitation, the
                              Guaranty of Obligations), and to take such other actions as are necessary,
                              appropriate or desirable in connection with the foregoing, with the DIP Credit
                              Agreement, the DIP Security and Guaranty Agreement and any Additional DIP
                              Guarantor Documents having such modifications as such Authorized Officer
                              executing the same shall approve, his or her execution thereof being deemed
                              conclusive evidence of such approval; and be it further

                              RESOLVED, that any Authorized Officer of each DIP Guarantor be, and each
                              of them hereby is individually, authorized, empowered and directed, in the
                              name and on behalf of such DIP Guarantor, to execute and deliver, attest to such
                              execution and delivery of, in the name of and on behalf of the DIP Guarantor,
                              all such other agreements (including, without limitation, any security
                              agreements, guaranty agreements, mortgages, and control agreements),
                              certificates, instruments and other writings (the “Additional DIP Guarantor
                              Documents”), and to take all such other actions, as such Authorized Officer may
                              deem necessary or appropriate in connection with the DIP Credit Agreement,
                              the DIP Security and Guaranty Agreement, the Interim Order, the Final Order
                              and any Additional DIP Guarantor Documents; and be it further

                              RESOLVED, that each DIP Guarantor is authorized to execute, deliver and
                              perform such other agreements, amendments, ratifications and confirmations as
                              the DIP Agent may require in connection with the DIP Credit Agreement, the
                              DIP Security and Guaranty Agreement, and any Additional DIP Guarantor
                              Documents to which such DIP Guarantor is or is contemplated to be a party and
                              any other agreements, documents, certificates or filings that any Authorized
                              Officer of such DIP Guarantor determines are necessary, appropriate or
                              desirable in connection with the DIP Credit Agreement, the DIP Security and
                              Guaranty Agreement, the Interim Order, the Final Order and the Additional DIP
                              Guarantor Documents to which such DIP Guarantor is or is contemplated to be
                              a party; and be it further

                              RESOLVED, that any Authorized Officer of each DIP Guarantor be, and each
                              of them hereby is individually, authorized, empowered and directed, in the
                              name and on behalf of such DIP Guarantor, to execute and deliver such
                              additional assignments, stock powers, powers of attorney, notices, lien
                              perfection documents, consents to assignment, subordination agreements,
                              interest rate protection and other hedging agreements, letters of credit and
                              master letter of credit agreements, cash management agreements, assignments,



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                              collateral assignments, fee letters and other customary loan documents, third
                              party collateral access agreements, bailee letters, deposit account control
                              agreements, securities account control agreements, insurance certificates, UCC
                              financing statements, mortgages, deeds of trust, warehouse notifications,
                              collateral assignments, and other customary secured loan documents and other
                              agreements, certificates, instruments and other writings as the DIP Agent may
                              request or as may be necessary or appropriate in the sole judgment of such
                              Authorized Officer to create, preserve and perfect the security interests and
                              other liens required or contemplated pursuant to, or otherwise to give effect to
                              any of the transactions contemplated by, any of the Additional DIP Guarantor
                              Documents; and be it further

                              RESOLVED, that any Authorized Officer of each DIP Guarantor be, and each
                              of them hereby is individually, authorized, empowered and directed, in the
                              name and on behalf of such DIP Guarantor, to execute and deliver all such other
                              agreements, certificates, instruments and other writings, and to take all such
                              other actions, as any such Authorized Officer may deem necessary or
                              appropriate in connection with the transactions contemplated by these
                              resolutions (and the DIP Credit Agreement, the DIP Security and Guaranty
                              Agreement, the Interim Order and the Final Order); and be it further

                              RESOLVED, that each DIP Guarantor hereby authorizes, adopts and approves,
                              in all respects the form, terms and provisions of the DIP Credit Agreement, the
                              DIP Security and Guaranty Agreement, the Interim Order, the Final Order and
                              any other Additional DIP Guarantor Documents (including without limitation,
                              the Guaranty of Obligations provided therein) substantially in the form to be
                              executed and delivered on or around March 21, 2018 and each DIP Guarantor’s
                              perfection thereunder; and be it further

Ratification                  RESOLVED, that all actions, proceedings, elections, appointments, approvals,
                              assignments, grants, transfers, agreements, acts, declarations, instruments,
                              documents, executions and transactions, whether done, taken, executed or acted
                              upon, or purported to be done, taken, executed or acted upon prior to the date
                              hereof, by or on behalf of any DIP Guarantor in connection with the DIP Credit
                              Agreement, the DIP Security and Guaranty Agreement, or any Additional DIP
                              Guarantor Documents, be, and the same hereby are, approved, adopted, ratified
                              and confirmed in all respects; and be it further

General Authority             RESOLVED, that any Authorized Officer of each DIP Guarantor be, and each
                              of them hereby is individually, authorized, empowered and directed, in the
                              name and on behalf of such DIP Guarantor, to take such additional actions, to
                              perform all acts and deeds, and to execute, ratify, certify, deliver, file and record
                              such additional agreements, certificates, instruments and other writings as any
                              of them may deem necessary or appropriate to implement the provisions of the
                              foregoing resolutions (including, without limitation, amendments, restatements,
                              replacements or other modifications of any of the foregoing documents) or
                              otherwise in connection with the DIP Credit Agreement, the DIP Security and
                              Guaranty Agreement, or any Additional DIP Guarantor Documents, to appoint
                              such agents on behalf of such DIP Guarantor as any such Authorized Officer
                              may deem necessary or appropriate in connection with the foregoing resolutions
                              or to comply with the requirements of the agreements, certificates, instruments



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                              and other writings approved by the foregoing resolutions, the authority for the
                              taking or performing of such actions, acts or deeds and the execution,
                              ratification, certification, delivery, filing or recording of such agreements,
                              certificates, instruments or other writings to be conclusively evidenced thereby;
                              and be it further

                              RESOLVED, that, to the extent any DIP Guarantor serves as the board of
                              directors, sole member, managing member or other governing body
                              (collectively, a “Controlling Company”), in each case, of any other company (a
                              “Controlled Company”), each Authorized Officer, any one of whom may act
                              without the joinder of any of the others, be, and each of them hereby is,
                              severally authorized, empowered and directed in the name and on behalf of such
                              Controlling Company (acting for such Controlled Company in the capacity set
                              forth above, as applicable), to take all of the actions on behalf of such
                              Controlled Company that an Authorized Officer is herein duly authorized to
                              take on behalf of such Controlling Company; and be it further

                              RESOLVED FURTHER, that the authority conferred upon each Authorized
                              Officer by these resolutions written consent is in addition to, and shall in no
                              way limit, such other authority as such Authorized Officer may have with
                              respect to the subject matter of the foregoing resolutions, and that the omission
                              from this resolution of any agreement or other arrangement contemplated by
                              any of the agreements, instruments or documents described in the foregoing
                              resolutions or any action to be taken in accordance with any requirement of any
                              of the agreements, instruments or documents described in the foregoing
                              resolutions shall in no manner derogate from the authority of such Authorized
                              Officer to take all actions necessary, advisable or appropriate to consummate,
                              effectuate, carry out or further the transactions contemplated by and the intents
                              and purposes of the foregoing resolutions.




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Fill in this information to identify the case:

Debtor name: Claire’s Stores, Inc.
United States Bankruptcy Court for the: _________ District of Delaware
                                                                          (State)
Case number (If known):

                                                                                                                                                       ☐  Check if this is an
                                                                                                                                                       amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors
Who Have the 30 Largest Unsecured Claims and Are Not Insiders
                                                                                                                                                                           12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
largest unsecured claims.
Name of creditor and complete mailing   Name, telephone number, and                 Nature of the claim      Indicate if     Amount of unsecured claim
address, including zip code             email address of creditor contact           (for example, trade      claim is        If the claim is fully unsecured, fill in only unsecured
                                                                                    debts, bank loans,       contingent,     claim amount. If claim is partially secured, fill in total
                                                                                    professional services,   unliquidated,   claim amount and deduction for value of collateral or
                                                                                    and government           or disputed     setoff to calculate unsecured claim.
                                                                                    contracts)
                                                                                                                              Total claim, if     Deduction for        Unsecured claim
                                                                                                                                partially            value of
                                                                                                                                secured            collateral or
                                                                                                                                                      setoff
1     The Bank of New York Mellon       Attn.:                                            $216.7M                                                                      $221,544,495.00
      101 Barclay Street                101 Barclay Street                             7.750% Senior
      New York, NY 10286                New York, NY 0286                             Unsecured Notes
                                        Phone:
                                        Email:
2     Studex Corp.                      Attn.:                                          Trade Payable                                                                    $8,899,178.00
      521 Rosecrans Avenue              521 Rosecrans Avenue
      Gardena, CA 90248-1514            Gardena, CA 90248-1514
                                        Phone: (800) 478-8339
                                        Email:
3     Popsockets                        Attn.:                                          Trade Payable                                                                    $1,853,526.00
      3033 Sterling Circle              3033 Sterling Circle
      Boulder, CO 80301                 Boulder, CO 80301
                                        Phone: (303) 223-6922
                                        Email:
4     Ty Inc.                           Attn.:                                          Trade Payable                                                                    $1,721,801.00
      280 Chestnut Avenue               280 Chestnut Avenue
      Westmont, IL 60559                Westmont, IL 60559
                                        Phone: (630) 432-3461
                                        Email:
5     MGA Entertainment Inc.            Attn:                                           Trade Payable                                                                      $598,136.00
      16300 Roscoe Blvd                 16300 Roscoe Blvd
      Van Nuys, CA 91406                Van Nuys, CA 91406
                                        Phone: (818) 894-2525
                                        Email:
6     Aptos – UK                        Attn.:                                          Trade Payable                                                                      $426,730.00
      St. John’s Court, Easton Street   St. John’s Court, Easton Street
      High Wycombre Bucks               High Wycombre Bucks
      HP11 1 JX UK                      HP11 1 JX UK
                                        Phone:
                                        Email:




Official Form 204                           List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                               Page 1



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Name of creditor and complete mailing   Name, telephone number, and         Nature of the claim      Indicate if     Amount of unsecured claim
address, including zip code             email address of creditor contact   (for example, trade      claim is        If the claim is fully unsecured, fill in only unsecured
                                                                            debts, bank loans,       contingent,     claim amount. If claim is partially secured, fill in total
                                                                            professional services,   unliquidated,   claim amount and deduction for value of collateral or
                                                                            and government           or disputed     setoff to calculate unsecured claim.
                                                                            contracts)
                                                                                                                      Total claim, if     Deduction for        Unsecured claim
                                                                                                                        partially            value of
                                                                                                                        secured            collateral or
                                                                                                                                              setoff
7     FedEx                             Attn.:                                  Trade Payable                                                                      $359,911.00
      P.O. Box 94515                    P.O. Box 94515
      Palatine, IL 60094-4515           Palatine, IL 60094-4515
                                        Phone: (800) 622-1147
                                        Email:
8     Expeditors                        Attn.:                                  Trade Payable                                                                      $338,347.00
      P.O. Box 66448                    P.O. Box 66448
      Chicago, IL 60666                 Chicago, IL 60666
                                        Phone: (630) 595-3770
                                        Email:
9     Wowwee Group Limited              Attn.:                                  Trade Payable                                                                      $248,488.00
      301 A-C Energy Plaza              301 A-C Energy Plaza
      92 Granville Road                 92 Granville Road
      T.S.T. East, HK                   T.S.T. East, HK
                                        Phone:
                                        Email:
10    Viff Accessories                  Attn.:                                  Trade Payable                                                                      $233,804.00
      5 Bowling Green Parkway           5 Bowling Green Parkway
      Lake Hopatcong, NJ 07849          Lake Hopatcong, NJ 07849
                                        Phone: (973) 432-6625
                                        Email:
11    Enesco LLC                        Attn:                                   Trade Payable                                                                      $220,428.00
      225 Windsor Drive                 225 Windsor Drive
      Itasca, IL 60143                  Itasca, IL 60143
                                        Phone: (630) 875-5300
                                        Email:
12    Jakks Pacific Parkway             Attn.:                                  Trade Payable                                                                      $219,000.00
      21749 Baker Parkway               21749 Baker Parkway
      Industry, CA 91789                Industry, CA 91789
                                        Phone: (909) 594-7771
                                        Email:
13    Pretty Woman, LLC                 Attn:                                   Trade Payable                                                                      $196,560.00
      35 Corporate Drive                35 Corporate Drive
      Holtsville, NY 11742              Holtsville, NY 11742
                                        Phone:
                                        Email:
14    Animal Adventure, LLC             Attn.:                                  Trade Payable                                                                      $182,881.00
      1114 5th Street S                 1114 5th Street S
      Hopkins, MN 55343                 Hopkins, MN 55343
                                        Phone: (952) 351-0990
                                        Email:
15    The Retail Property Trust         Attn.:                              Rent/Lease Obligation                                                                  $175,670.00
      P.O. Box 772805                   P.O. Box 772805
      Chicago, IL 60677-2805            Chicago, IL 60677-2805
                                        Phone: (317) 263-2313
                                        Email:
16    Edge Accessories Ltd.             Attn.:                                  Trade Payable                                                                      $161,427.00
      79 Lynch Lane                     79 Lynch Lane
      Weymouth, Dorset DT4 9DW, UK      Weymouth, Dorset DT4 9DW, UK
                                        Phone:
                                        Email:
17    Warehouse Direct, Inc.            Attn.:                                  Trade Payable                                                                      $149,070.00
      2001 South Mount Prospect Road    2001 South Mount Prospect Road
      Des Plaines, IL 60018             Des Plaines, IL 60018
                                        Phone: (847) 631-3473
                                        Email:




Official Form 204                           List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                       Page 2



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Name of creditor and complete mailing   Name, telephone number, and         Nature of the claim      Indicate if     Amount of unsecured claim
address, including zip code             email address of creditor contact   (for example, trade      claim is        If the claim is fully unsecured, fill in only unsecured
                                                                            debts, bank loans,       contingent,     claim amount. If claim is partially secured, fill in total
                                                                            professional services,   unliquidated,   claim amount and deduction for value of collateral or
                                                                            and government           or disputed     setoff to calculate unsecured claim.
                                                                            contracts)
                                                                                                                      Total claim, if     Deduction for        Unsecured claim
                                                                                                                        partially            value of
                                                                                                                        secured            collateral or
                                                                                                                                              setoff
18    Eyesquared                        Attn:                                   Trade Payable                                                                      $132,287.00
      15 West 37th Street               15 West 37th Street
      New York, NY 10018                New York, NY 10018
                                        Phone: (212) 354-7744
                                        Email:
19    Trade Global, LLC                 Attn.:                                  Trade Payable                                                                      $127,758.00
      5389 E. Provident Drive           5389 E. Provident Drive
      Cincinnati, OH 45246              Cincinnati, OH 45246
                                        Phone: (513) 346-3100
                                        Email:
20    Wish Factory Trading              Attn:                                   Trade Payable                                                                      $116,538.00
      960 6th Ave., 3rd Floor           960 6th Ave., 3rd Floor
      New York, NY 10018                New York, NY 10018
                                        Phone:
                                        Email:
21    Nest International Inc.           Attn.:                                  Trade Payable                                                                      $112,064.00
      550 Crescent Blvd.                550 Crescent Blvd.
      Gloucester City, NJ 08030         Gloucester City, NJ 08030
                                        Phone: (609) 456-5668
                                        Email:
22    Inspired Thinking Group           Attn:                                   Trade Payable                                                                      $109,756.00
      41 East 11th Street               41 East 11th Street
      New York, NY 10003                New York, NY 10003
                                        Phone:
                                        Email:
23    Fiona Cuff                        Attn.:                                  Trade Payable                                                                      $104,562.00

                                        London SW9 0JR, UK
      London SW9 0JR, UK                Phone:
                                        Email:
24    Simon Property Group, LP          Attn.:                              Rent/Lease Obligation                                                                  $102,906.00
      P.O. Box 2004                     P.O. Box 2004
      Indianapolis, IN 46206-2004       Indianapolis, IN 46206-2004
                                        Phone: (317) 263-2313
                                        Email:
25    GGP Limited Partnership           Attn.:                              Rent/Lease Obligation                                                                    $96,883.00
      P.O. Box 776250                   P.O. Box 776250
      Chicago, IL 60677-6250            Chicago, IL 60677-6250
                                        Phone:
                                        Email:
26    Verity Hoskins Products           Attn:                                   Trade Payable                                                                        $92,068.00
      1404 Hygeia Ave.                  1404 Hygeia Ave.
      Encinitas, CA 92024               Encinitas, CA 92024
                                        Phone: (619) 228-6447
                                        Email:
27    Skinnydip Limited                 Attn:                                   Trade Payable                                                                        $84,968.00
      Carey Way, Towers Business Park   Carey Way, Towers Business Park
      London HA9 OLQ, UK                London HA9 OLQ, UK
                                        Phone:
                                        Email:
28    Capitol Light                     Attn:                                   Trade Payable                                                                        $77,575.00
      14951 Dallas Parkway              14951 Dallas Parkway
      Jefferson Hills, PA 15025         Jefferson Hills, PA 15025
                                        Phone: (412) 384-3100
                                        Email:




Official Form 204                           List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                       Page 3



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Name of creditor and complete mailing   Name, telephone number, and         Nature of the claim      Indicate if      Amount of unsecured claim
address, including zip code             email address of creditor contact   (for example, trade      claim is         If the claim is fully unsecured, fill in only unsecured
                                                                            debts, bank loans,       contingent,      claim amount. If claim is partially secured, fill in total
                                                                            professional services,   unliquidated,    claim amount and deduction for value of collateral or
                                                                            and government           or disputed      setoff to calculate unsecured claim.
                                                                            contracts)
                                                                                                                       Total claim, if     Deduction for        Unsecured claim
                                                                                                                         partially            value of
                                                                                                                         secured            collateral or
                                                                                                                                               setoff
29    Lennox Industries, Inc.           Attn.:                                  Trade Payable                                                                         $73,620.00
      3511 NE 22 Avenue                 3511 NE 22 Avenue
      Fort Lauderdale, FL 33308         Fort Lauderdale, FL 33308
                                        Phone: (800) 333-4001
                                        Email:
30    Disney Consumer Products, Inc.    Attn.: Devin Seastone                   Trade Dispute        Contingent /                                                       Unknown
      500 S. Buena Vista St.            500 S. Buena Vista St.                                       Unliquidated /
      Burbank, CA 91521                 Burbank, CA 91521                                            Disputed
                                        Phone:
                                        Email:




Official Form 204                           List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                        Page 4



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Fill in this information to identify the case:

Debtor name: Claire’s Stores, Inc.
United States Bankruptcy Court for the: ________ District of Delaware
                                                                    (State)
Case number (If known):




Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                               12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor,
the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C.
§§ 152, 1341, 1519, and 3571.


             Declaration and signature



    I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
    partnership; or another individual serving as a representative of the debtor in this case.
    I have examined the information in the documents checked below and I have a reasonable belief that the information is
    true and correct to the best of my information and belief:
    ☐       Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
    ☐       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    ☐       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
    ☐       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
    ☐       Schedule H: Codebtors (Official Form 206H)
    ☐       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
    ☐       Amended Schedule ____
            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
    ☐       Other document that requires a declaration

    I declare under penalty of perjury that the foregoing is true and correct to my knowledge, information, and belief.

                                                         /s/ Scott E. Huckins
    Executed on March 19, 2018
                                                         Signature of individual signing on behalf of debtor
                    MM /DD /YYYY
                                                         Scott E. Huckins
                                                         Printed name

                                                         Executive Vice President and Chief Financial Officer
                                                         Position or relationship to debtor




Official Form 202                                Declaration Under Penalty of Perjury for Non-Individual Debtors

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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE

------------------------------------------------------------ x
In re                                                        :
                                                             :        Chapter 11
                                                             :
CLAIRE’S STORES, INC.                                        :        Case No. 18– ________ (    )
                                                             :
                           Debtor.                           :
                                                             :
------------------------------------------------------------ x

          CONSOLIDATED CORPORATE OWNERSHIP STATEMENT PURSUANT
          TO FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007 AND 7007.1

                    Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy

Procedure, attached hereto as Exhibit A is an organizational chart reflecting all of the ownership

interests in Claire’s Stores, Inc. (“Claire’s”) and its affiliated debtors (the “Affiliated Debtors”),

as proposed debtors and debtors in possession in the above-captioned chapter 11 cases

(collectively, the “Debtors”).             Claire’s, on behalf of itself and the Affiliated Debtors,

respectfully represents as follows:

           1. Apollo 1 owns 97.7 percent of the equity interest of Claire’s Inc. (“Claire’s Parent”).

               To the best of the Debtors’ knowledge and belief, no other person or entity directly

               owns ten percent (10%) or more of Claire’s Parent’s common stock.

           2. Claire’s Parent owns one hundred percent (100%) of the equity interests of Claire’s.

           3. Claire’s owns one hundred percent (100%) of the equity interests of:

                    a. Claire’s Puerto Rico Corp.;

                    b. CBI Distributing Corp.;

                    c. Claire’s Boutiques, Inc.; and


1
    “Apollo,” as used herein, includes interests managed by Apollo Investment Fund VI, L.P.




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                    d. Claire’s Canada Corp.

          4. CBI Distributing Corp. owns one hundred percent (100%) of the equity interests of

               BMS Distributing Corp.

          5. Claire’s Canada Corp. owns one hundred percent (100%) of the membership interests

               of CSI Canada LLC.




                                                   2
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                                        Exhibit A

                                  Organizational Chart




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                                                                                                                                        Case 18-10584-MFW                  Doc 1        Filed 03/19/18                  Page 28 of 31

                                                                                                                                                                                         Claire’s Inc.
                                                                                                                                                                                         (Delaware)




                                                                                                                                                                                      Claire’s Stores, Inc.
                                               Prepetition ABL                                                                                                                            (Florida)

                       Obligor on 1st Lien ABL (Feb. 19)
                                   Prepetition Revolving Credit Facility
                                                                                                                                                                                          56%
                      Obligor on 1st Lien Revolving Credit Facility (Feb. 19)
                                                                                                                                            Claire’s Puerto Rico                    CBI Distributing Corp.                 Claire’s Boutiques, Inc.                                               Claire’s Canada Corp.
                                                                                                                                                                                                                  44%                                                                                                                                       Claire’s Swiss Holdings
                                            First Lien Term Loan                                                                             Corp.(Delaware)                            (Delaware)                              (Colorado)                                                             (Delaware)
                                                                                                                                                                                                                                                                                                                                                                LLC (Delaware)
                      Obligor on 1st Lien Term Loan (Sept. 21)
                                           First Lien 9.00% Notes
                      Obligor on 9.000% Sr. Sec. 1st Lien Notes (Mar. 19)
                                                                                                                                                                   CLSIP Holdings                     BMS Distributing Corp.                             Claire’s Stores                             CSI Canada LLC                                           Claire’s (Gibraltar)
                                          First Lien 6.125% Notes                                                                                                                                         (Delaware)                                                                                  (Delaware)                                              Holdings Limited
                                                                                                                                                                       LLC                                                                               Canada Corp.
                      Obligor on 6.125% Sr. Sec. 1st Lien Notes (Mar. 20)                                                                                           (Delaware)                                                                             (Canada)                                                                                              (Gibraltar)

                                         Second Lien 8.875% Notes
                      Obligor on 8.875% Sr. Sec. 2nd Lien Notes (Mar. 19)
                                                                                                                                                                     CLSIP LLC                                                                                                                                                                              Claire’s (Gibraltar)
                                          Unsecured 7.750% Notes                                                                                                    (Delaware)
                                                                                                                                                                                                                                                                                                                                                              Intermediate
                      Obligor on 7.750% Sr. Unsec. Notes (June 20)                                                                                                                                                                                                                                                                                      Holdings Limited (Gibraltar)

                                               CLSIP Term Loan
                      Obligor on CLSIP Sr. Sec. Term Loan (Sept. 21)
                                                                                                                                                                                                                                                                                                                                                                  Claire’s
                                    Gibraltar 2019 Unsecured Term Loan                                                                                                                                                                                                                                                                                         Holdings S.a.r.l.
                      Obligor on Gibraltar Unsec. Term Loan (Feb. 19)                                                                                                                                                                                                                                                                                          (Luxembourg)
                                  Gibraltar 2021 Unsecured Term Loan
                      Obligor on Gibraltar Unsec. Term Loan (Sept. 21)
                                        Gibraltar Secured Term Loan                                                                                                                  Claire’s Holding                          Claire’s Luxembourg                     Claire’s European                                   Claire’s Hungary
                                                                                                                                                                                                                                     S.a.r.l.                           Services Limited                                         Kft.                    Claire’s Stores Hong Kong Li
                                                                                                                                                                                         GmbH
                      Obligor on Gibraltar Int. Sec. Term Loan (Jan. 19)                                                                                                                                                          (Luxembourg)                         (United Kingdom)                                                                       mited (Hong Kong)
                                                                                                                                                                                      (Switzerland)                                                                                                                           (Hungary)




   CSI Luxembourg                                                                WhiteClaire’s Acessorios      Claire’s Netherlands                Claire’s Germany                        Claire’s Switzerland                      Claire’s Accessories                      Claire’s Austria
                                         BMS Fashion Corp.
        S.a.r.l.                                                                Portugal, Unipsessoal LDA             B.V.                              GmbH                                     GmbH                                      UK Ltd                                  GmbH
                                          (Cayman Islands)                             (Portugal)                 (Netherlands)                                                               (Switzerland)                           (United Kingdom)                            (Austria)
    (Luxembourg)                                                                                                                                      (Germany)

                                                                                                                                                                                                                                                                                        99%                                                  90%
CSI Luxembourg S.a.r.l.                     Claire’s China
     Swiss Branch                             Services                           Claire's Accessories UK,                                         Claire’s Accessories                          Claire’s Italy                                                                 Claire’s Poland                                                                      Claire’s European
                                                                                                            Claire's Accessories UK, Ltd.                                                                                           Claire’s Belgium B.V.B.A.                                                                         Claire’s Czech
    (Switzerland)                              (China)                               Ltd. Irish Branch                                                Spain, S.L.                                  S.R.L.                                                                         Sp. z.o.o.                                                                       Distribution Limited
                                                                                                                   French Branch                                                                                                                                                                                                      Republic s.r.o.
                                                                                         (Ireland)                                                      (Spain)                                    (Italy)                                 (Belgium)
                                                                                                                      (France)                                                                                                                                                   (Poland)*                                          (Czech Republic)*               (United Kingdom)
   Claire’s Fashion                       RSI International                                                                                                                                                                                                                   * Minority interests in Claire’s Poland and Claire’s Czech Republic are
   Property Corp.                             Limited                                                              Claire’s France                                                                                                                                                                    held by Claire’s Holdings S.a.r.l
  (Cayman Islands)                         (Hong Kong)                                                                 S.A.S.
                                                                                                                      (France)
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Fill in this information to identify the case:

Debtor name: Claire’s Stores, Inc.
United States Bankruptcy Court for the:          District of Delaware
                                                                  (State)
Case number (If known):




Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                               12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor,
the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C.
§§ 152, 1341, 1519, and 3571.


             Declaration and signature



    I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
    partnership; or another individual serving as a representative of the debtor in this case.
    I have examined the information in the documents checked below and I have a reasonable belief that the information is
    true and correct to the best of my information and belief:

    ☐       Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
    ☐       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    ☐       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
    ☐       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
    ☐       Schedule H: Codebtors (Official Form 206H)
    ☐       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
    ☐       Amended Schedule ____
    ☐       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
            Other document that requires a declaration Corporate Ownership Statement

    I declare under penalty of perjury that the foregoing is true and correct to my knowledge, information, and belief.

                                                       /s/ Scott E. Huckins
    Executed on March 19, 2018
                                                       Signature of individual signing on behalf of debtor
                    MM / DD /YYYY
                                                       Scott E. Huckins
                                                       Printed name

                                                       Executive Vice President and Chief Financial Officer
                                                       Position or relationship to debtor




Official Form 202                         Declaration Under Penalty of Perjury for Non-Individual Debtors


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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE

------------------------------------------------------------ x
In re                                                        :
                                                             :      Chapter 11
                                                             :
CLAIRE’S STORES, INC.                                        :      Case No. 18– ________ (             )
                                                             :
                           Debtor.                           :
                                                             :
------------------------------------------------------------ x

                              LIST OF EQUITY SECURITY HOLDERS1

                    Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the

following identifies all holders having a direct or indirect ownership interest, of the above-

captioned debtor in possession (the “Debtor”).

Check applicable box:

☐ There are no equity security holders or corporations that directly or indirectly own 10% or
more of any class of the debtor’s equity interest.

☒ The following are the debtor’s equity security holders (list holders of each class, showing the
number and kind of interests registered in the name of each holder, and the last known address or
place of business of each holder):

    Name and Last Known Address or Place of                      Kind/Class of               Number of
              Business of Holder                                   Interest                Interests Held

                     Claire’s Inc.
                2400 West Central Road                           Equity Interest                100%
             Hoffman Estates, Illinois 60192




1
 This list serves as the required disclosure by the Debtor pursuant to Rule 1007 of the Federal Rules of Bankruptcy
Procedure. All equity positions listed are as of the date of commencement of the Debtor’s chapter 11 case.




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Fill in this information to identify the case:

Debtor name: Claire’s Stores, Inc.
United States Bankruptcy Court for the: _________ District of Delaware
                                                               (State)
Case number (If known):




Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                               12/15


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submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor,
the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

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§§ 152, 1341, 1519, and 3571.


           Declaration and signature



   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
   partnership; or another individual serving as a representative of the debtor in this case.
   I have examined the information in the documents checked below and I have a reasonable belief that the information is
   true and correct to the best of my information and belief:

   ☐       Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
   ☐       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
   ☐       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
   ☐       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
   ☐       Schedule H: Codebtors (Official Form 206H)
   ☐       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
   ☐       Amended Schedule ____
   ☐       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
           (Official Form 204)
           Other document that requires a declaration List of Equity Holders

   I declare under penalty of perjury that the foregoing is true and correct to my knowledge, information, and belief.

                                                    /s/ Scott E. Huckins
    Executed on March 19, 2018
                                                    Signature of individual signing on behalf of debtor
                    MM / DD /YYYY
                                                    Scott E. Huckins
                                                    Printed name

                                                    Executive Vice President and Chief Financial Officer
                                                    Position or relationship to debtor




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